                                IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                              CIVIL MINUTES: NON- JURY TRIAL- DAY 2

Case No 1:22-CV-162        Date   July 9, 2024   Time 9:09-10:34/10:44-10:55 1:18-3:10/3:30-3:39

Style SHARON M GUTHRIE vs. UNITED STATES OF AMERICA
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              The Honorable CLIFTON CORKER, U.S. District Judge, Presiding

Courtroom Deputy KIM OTTINGER                              Court Reporter KAREN BRADLEY

         PARTIES
                                                                  COUNSEL
SHARON M. GUTHRIE                                                CAMERON KUHLMAN
Plaintiff
                                                                 WILLIAM LEECH

vs.
UNITED STATES OF AMERICA                                       JACOB S. FAIR
Defendant
                                                               MITCHELL PANTER



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Introduction of evidence for Plaintiff resumed and concluded
Oral motion for Judgment as a Matter of Law by the Defendant- DENIED
Introduction of evidence for Defendant begun and concluded
Ruling from the bench as to witness(s)
Trial is continued until    8/6/2024 @ 9:00 a.m.




      Case 1:22-cv-00162-DCLC-SKL Document 123 Filed 07/09/24 Page 1 of 1 PageID #: 1346
